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                                                                                                                             E-FILED
                                                                                             Thursday, 12 March, 2020 02:53:05 PM
                                                                                                     Clerk, U.S. District Court, ILCD
AO 91 (Rev. 11/ 11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                    for the
                                                        Central D istrict of Illinois

                   U nited States of America                           )
                                V.                                     )
                                                                       )      Case No.
                                                                       )                 20-MJ-   1053
                      Wardell M. Dockery                               )
                                                                       )
                                                                       )
                           Defendant(s)


                                                   CRIMINAL COMPLAINT
         I , the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    March 10, 2020                  in the county of            Champaign          in the

      Central          District of _ _ __ll_
                                           lin_o'-is= ---- - , the defendant(s) v iolated :

                Code Section                                                     Offense Description
21 U.S.C. §841 (a)(1) and (b)(1 )(A)              Possession of 50 Grams or More of Methamphetamine (Actual) with Intent to
                                                  Distribute




          This criminal complaint is based on these facts:
See ATF Task Force Officer Cully Schweska's affidavit, which is attached hereto and incorporated by reference.




          t-i   Continued on the attached sheet.




                                                                                             ATF TFO Cully Schweska
                                                                                                  Printed name and title


Sworn to before me and signed in my presence.



Date:


                                          Urbana, Illinois                          Eric I. Long, United States Magistrate Judge
City and state:
                                                                                                  Printed name and title
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                                        AFFIDAVIT

I, Cully Schweska, being first duly sworn, hereby depose and state as follows:

       1.      I am a police officer with the Champaign Police Department and have

been so employed since January 2013. I am currently assigned to the Investigations

Division as a detective, with a primary function of investigating felony offenses under

the Illinois Compiled Statutes, including firearms and drug-related offenses. I am also

currently assigned as a task force officer (TFO) for the Bureau of Alcohol, Tobacco,

Firearms, and Explosives (ATF) and have been so assigned for one year. In my role as a

TFO for the ATF, I investigate violations of Title 18 of the United States Code, as

amended, including firearms-related offenses. Prior to my employment with the

Investigations Division of Champaign Police Department, I was a member of the Street

Crimes Task Force for approximately three years. In this role, I was responsible for the

investigation of firearm- and narcotics-related investigations.

       2.     The facts in this affidavit come from my personal observations, my

training and experience, and information obtained from other agents and witnesses.

This affidavit is intended to show merely that there is sufficient probable cause for the

requested warrant and does not set forth all of my knowledge about this matter.

       3.     This affidavit is submitted in support of a complaint charging WARDELL

MDOCKERY                            , with the possession of 50 grams or more of

methamphetamine (actual), a Schedule II controlled substanc , with the intent to

distribute, in violation of Title 21, United States Code, Sections 841 (a)(l) and (b)(l)(A).




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                                        PROBABLE CAUSE

                                        Controlled Purchase

       4.     On February 20, 2020, officers/ agents met with a confidential informant

(CI) for the purpose of conducting a controlled purchase of one-half ounce (14 grams) of

crystal methamphetamine by the CI from DOCKERY. The CI made a recorded phone

call to DOCKERY at- -, and a male identified by the CI as DOCKERY

answered. The CI and DOCKERY agreed to meet at a specific location within the

Central District of Illinois in Champaign, Illinois, to conduct the exchange. Prior to this

meeting, the CI and his/ her vehicle were searched for currency and contraband with

negative results. The CI was then provided with OAF and equipped with audio/video

recording devices. The CI then entered his/her vehicle, and proceeded directly to the

prearranged meet location to wait for DOCKERY to arrive, while officers/ agents

maintained constant visual surveillance of the CI.

       5.     After the CI arrived at the buy location, DOCKERY was observed by

surveilling officers exiting the residence located at -                    Urbana,

Illinois. DOCKERY then entered the driver's seat of the Chrysler 300 and traveled

directly to the buy location and parked.

       6.     Upon DOCKERY's arrival at the buy location, the CI exited his/ her

vehicle and entered the front seat of the Chrysler. Approximately one minute later, the

CI exited DOCKERY's vehicle and rehuned to his/ her vehicle while officer / agents

maintained constant visual surveillance of the CI and DOCKERY. The CI was followed



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until he/ she met offi ers/ agents at a pre-arranged location while other

officers/ agents maintained constant visual surveillance of DOCKERY and the Chrysler

as he traveled directly back to the ~                    residence in Urbana, Illinois.

       7.     After the Chrysler arrived back at -                    , Urbana, Illinois,

officers observed DOCKERY exited the vehicle and utilize keys to gain entry into the

residence.

       8.     Officers/ agents met with the CI following the controlled purchase. The

CI provided officers with the purported crystal methamphetamine that the CI had

purchased from DOCKERY. The CI stated when he/ she arrived atthe pre-arranged

meet location he/ she had contacted DOCKERY via telephone. The CI stated he/ she

awaited DOCKERY's arrival, then exited his/ her vehicle as DOCKERY parked. The CI

entered the front passenger seat and observed DOCKERY as the sole occupant of the

vehicle. DOCKERY handed the CI a quantity of crystal methamphetamine and in

exchange, the CI handed DOCKERY $360 dollars of Official Advanced Funds (OAF).

DOCKERY. The CI also had a brief conversation with DOCKERY, which was recorded

on a covert audio/video recording device.

      9.     Your affiant reviewed the audio/video recording obtained from the CI.

This recording depicts the CI meeting with DOCKERY at the pre-arranged meet

location. The CI can be seen exiting his/ her vehicle and entering the front passenger

seat of the silver Chrysler 300. The CI and DOCKERY can be observed having a

conversation, during which DOCKERY's face is readily identifiable in the video.


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DOCKERY can be seen extending his arm toward the CI in the front passenger seat,

and can then be observed holding currency. DOCKERY then can be observed placing

currency near the cup holder of the vehicle as the CI and DOCKERY have a brief

conversation. A few seconds later, the CI exits DOCKERY's vehicle and returns to

officers/ agent's loca ti.on.

       10.     The purported crystal methamphetamine obtained from DOCKERY by

the CI was field-tested, returning a positive result for methamphetamine. The

substance approximately 14.9 grams with packaging and appeared consistent with

high-quality m ethamphetamine sold within Champaign County. The substance has

been sent to the Drug Enforcement Administration (DEA) forensic laboratory for

analysis, though the results are pending. Based on my training and experience, as well

as on information obtained from other law enforcement officials, I am familiar with the

purity of methamphetamine sold and distributed in the Central District of Illinois.

Methamphetamine sold within the CDIL is often high in purity, with lab analyses

generally returning purity levels in excess of 85%. Based on the high purity of

methamphetamine sold in central illinois, together with my observation of the

substance, I believe this substance distributed by DOCKERY on February 20, 2020, will

be in excess of five grams of actual (pure) methamphetamine.




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                                     Search Warrants

       11.    On March 10, 2020, your affiant obtained federal search warrants for the



                             1111-
known residences of WARDELL M DOCKERY, located at- - ~ in

Urbana, Illinois 61802 and                              in Champaign, Illinois 61821.

       12.    ATF Agents, Champaign Police Investigators and the Champaign Street

Crimes Task Force (CSCTF) formulated a plan to arrest DOCKERY for distributing

methamphetamine within the Central District of Illinois while DOCKERY was

previously scheduled to meet with his parole officer on March 10, 2020. Prior to this

meeting, officers/ agents established surveillance outside - - ~ in

Urbana, Illinois and outside 1111                        , Champaign, Illinois, prior to the

pre-arranged meeting. DOCKERY was observed exiting the residence at 1111 -

             and entering a white-colored sedan. DOCKERY was followed by law

enforcement from 1111 -          -              to the parole office in Champaign, Illinois,

for his meeting.

       13.    At approximately 11:02 a.m., Champaign Police Detective Corey Phenicie

and I arrested DOCKERY, and he was advised of his Miranda warnings. We advised

DOCKERY that ATF had been investigating him for the distribution of

methamphetamine. We then asked DOCKERY if there was any methamphetamine at

his residences located at llll                   Urbana, Illinois and/   or l l l -
-     Champaign, Illinois. DOCKERY denied residing at either -                            in

Urbana, Illinois, or 1111               in Champaign, Illinois.



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       14.      Detective Corey Phenicie and I transported DOCKERY to ~ -

_            , Champaign, Illinois, first. DOCKERY once again denied knowledge of the

residence. At approximately 11:35 a.m., ATF and the CSCT agents executed the warrant

at ~ -                         . Agents located one female occupant inside the residence,

who was later released. This female identified herself as being in a physical relationship

with DOCKERY. Inside, officers/ agents located indicia of residence for DOCKERY

inside the north bedroom, including but not limited to, a social security card, a birth

certificate, Illinois Voter Registration receipt, a copy of his Illinois Identification card,

Illinois Department of Corrections paperwork in his name, and Carle Hospital

paperwork for a health visit. In the same bedroom, agents also located 14.4 grams of

suspected oxycodone in a bag, a large amount of United States Currency, and receipts

for expensive jewelry.

       15.    During the search of the rest of residence, agents located three (3) plastic

tubes containing suspected "ice" methamphetamine, inside of a black d_uffel bag behind

the couch in the living room, which were later weighed in their plastic packaging. The

tubes weighed approximately 504.4 grams, approximately 504.2 grams and 504.8 grams.

The suspected methamphetamine was field-tested, and field-tested positive for the

presence of methamphetamine. The methamphetamine weighed approximately 1,513.4

grams in total, with packaging. The methamphetamine will be sent to the DEA             orth

Central Laboratory for further analysis. From training and experience, I know that

1,513.4 grams of methamphetamine is a distribution amount of methamphetamine and

not an amount commonly held for personal use.

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       16.    Also located in the living room was one (1) loaded Beretta 92Al

semiautomatic 9mm handgun with an extended magazine, one (1) loaded Ruger P85

9mm semiautomatic handgun and one (1) Draco 7.62x 9mm semiautomatic pistol and

various rounds/ calibers of ammunition.

       17.    Located in the kitchen were several bags of suspected powder cocaine.

The bags of suspected cocaine weighed (approximately) the following: 56.2 grams, 14.8

grams, 5.1 grams, 3.0 grams, 56.4 grams, 172.3 grams and 207.4 grams. Total, the

suspected powder cocaine located in the kitchen weighed approximately 515.2 grams,

with packaging. Additionally, officers located approximately 46.4 grams of suspected

crack cocaine in the kitchen. The suspected cocaine and crack cocaine were field-tested,

and field-tested positive for the presence of cocaine. The cocaine has been secured into

the Champaign Police Evidence Unit. Based on my training and experience, I know that

515.2 grams of suspected cocaine and 46.4 grams of suspected crack cocaine are

distribution amounts of cocaine and not an amount commonly held for personal use.

      18.    Additionally, officers/ agents located a bag containing suspected "ice"

methamphetamine, inside of the kitchen drawer that was later weighed in its plastic

packaging. The suspected m ethamphetamine was field-tested, and field-tested positive

for the presence of methamphetamine. This bag of m ethamphetamine weighed

approximately 378.9 grams, with packaging. The methamphetamine will be sent to the

DEA North Central Laboratory for further analysis. From training and experience, I

know that 378.9 grams of m ethamphetamine is a distribution amount of

methamphetamine and not an amount for p ersonal use.

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        19.     Located inside the kitchen was also packaging material consistent with

narcotics sales. These materials included gallon Ziploc bags and a digital scale. Also, a

glass Pyrex jar and utensil in kitchen sink with suspected cocaine residue, which based

on my training and experience, are tools commonly utilized to cook crack cocaine. An

additional large amount of United States Currency was located in a shoebox in the

laundry room.




     1111-- -
       20.      A second bedroom is also located in the northeast corner of the residence

at                         This bedroom had indicia of residency for Robert Williams. The

search of this bedroom revealed a semiautomatic handgun and suspected Viagra



                                                                                1111-
(sildenafil).

       21.      The total amount of narcotics located inside the residence of

-      within the common areas or the bedroom with indicia of residency belonging to

DOCKERY were as follows:

                   a.   14.4 grams of oxycodone;
                   b.   515.2 grams of powder cocaine;
                   c.   46.4 grams of cocaine base (" crack"); and
                   d.   1,892.3 grams of methamphetamine ice.

       22.      Officers/ agents then proceeded to DOCKERY' s second residence, -

                  in Urbana, Illinois to execute the second search warrant. At

approximately 11:57 a.m., ATF and Champaign County Street Crimes Task Force

officers served the search warrant at said residence. Officers/ agents located one

female, identified as DOCKERY' s girlfriend, inside the residence. I advised the female

of her rights pursuant to Miranda. She advised, in summary, that DOCKERY is her


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boyfriend and that they reside at ~                     Urbana, Illinois. She stated she

and DOCKERY are the only two who have keys and access to the residence at -

                 and that they share the master bedroom located inside in the trailer.

       23 .   The subsequent search of the trailer at- - revealed a gray-

colored bag in the kitchen drawer of the residence. Inside this gray bag was a bag

containing suspected "ice" methamphetamine. The methamphetamine weighed

approximately 284 grams, with packaging. The methamphetamine will be sent to the

DEA North Central Laboratory for further analysis. From training and experience, I

know that 284 grams of methamphetamine is a distribution amount of

methamphetamine and not an amount commonly held for personal use. The bag also

contained approximately eleven (11) pills of suspected ecstasy (MDMA), and

approximately two bags of suspected crack cocaine weighing a total of 1.5 grams with

packaging. The methamphetamine and cocaine will be sent to the DEA' s       orth Central

Laboratory. The ecstasy was submitted to the Champaign Police Evidence Unit for

storage.

       24.    Officers/ agents then conducted a search of the master bedroom of the

trailer. A search of the master bedroom revealed approximately 1,672.5 grams of

suspected cannabis in the bedroom closet. Law enforcement also located a Taurus 9mm

semiautomatic handgun in the same closet. Officers/ agents also located a large amount

of currency in the dresser drawer.




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       25.    Based on the facts stated above, I submit that there is probable cause to

believe that Wardell DOCKERY possessed 50 grams or more of methamphetamine and

that he possessed the same with intent to distribute it, in violation of Title 21, United

States Code, Section 841(a)(1) and (b)(l)(B).

                         FURTHER AFFIANT SA YETH NOT.




                                           Cully Schweska, Task Force Officer
                                           Bureau of Alcohol, Tobacco, Firearms and Explosives


                c,YL,,,...__,   to before me this   r z_ day of March, 2020.




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